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August 20, 2019

Robert E. Payne, U.S.D.J.
United States District Court
701 East Broad Street
Richmond, VA 23219

Re: — Rowe v. Holloway
Civil Action No. 3:19-cv-418

Dear Judge Payne:

I am writing in response to the Order you issued on August 2, 2019 with respect to Mr.
Rowe’s filing in the above case. I have had the opportunity to review his complaint and do not
believe it is in any conflict with the case in which I am representing him (Rowe v. Clarke, Civil
Action No. 3:18-cv-780).

Most of the facts in Mr. Rowe’s Complaint are from prior to June 1, 2018 which is the
operative date for the Complaint that I filed. The only reference to my case is in paragraph 29 in
which Mr. Rowe details ten outgoing emails that were censored. The portion of paragraph 29 that
mentions the two essays in the case I am handling is not an essential part of Mr. Rowe’s
Complaint and may only be used to prove intent.

Under these circumstances, I believe that Mr. Rowe should be allowed to proceed on his
causes of action.

Respectfully submitted,

s/Jeffrey E. Fogel
Jeffrey E. Fogel
